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IN THE UNITED sTATEs DISTRICT coURT FOR THE DIsT T oF UTAH

 

 

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CENTRAL DIVISION .
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)
STANLEY GOOLD III and STANLEY )
GOOLD, JR. et al. )
) ORDER GRANTING
Plaintiffs, ) DEFENDANTS' MOTION FOR
) PARTIAL SUMMARY
V. ) JUDGMENT
)
) Case No. 2:98-CV-832K
TEEN HELP et al. )
)
Defendants. )

 

This matter is before the Court on a motion for partial summary judgment, filed by
Defendants Teen Help, Worldwide Association of Specialty Programs, R&B Management, L.C.,
dba Brightway Hospital, R&B Billing, Dixie Contract Services, Ken Kay, Robert B. Lichflled,
Karr Farnsworth and Brent M. Facer ("Defendants"). Defendants move this court for an order
dismissing Plaintiffs' claims under 18 U.S.C. § 1964(¢) ("RICO") because Plaintiffs do not have
standing to bring a RICO action.

For the reason that Plaintiffs filed a memorandum Stating that they do not oppose
Defendants' motion, and for other good cause showing, it is hereby ORDERED that Defendants'

Motion for Partial Summary Judgment is GRANTED.

DATED this;}g`l ii`ay of March, 2000. jfl

DALE A. WKIMB£§LL/

United States District Judge

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ash
United States District Court
for the
District of Utah
March 21, 2000

* * CERTIFICATE OF SERVICE OF CLERK * *

Re: 2:98-cv-00832

True and correct copies of the attached were either mailed or faxed by the
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